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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
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12    XIAOYE BAI,                              )   No. 2:21-cv-04939-JGB (JDE)
                                               )
13                                             )
                         Petitioner,           )   JUDGMENT
14                                             )
                    v.                         )
                                               )
15    WARDEN OF HIGH DESERT                    )
      STATE PRISON, et al.,                    )
16                                             )
                                               )
17                       Respondents.          )
                                               )
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19
            Pursuant to the Order Summarily Dismissing Action,
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            IT IS ADJUDGED that this action is dismissed without prejudice for
21
      Petitioner’s failure to exhaust state remedies.
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23
      Dated: September 2, 2021
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25                                                 ______________________________
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                                                   JESUS
                                                     SUS G. BERNAL
                                                   JES                  L
26                                                 United
                                                   Uniited States District Judge
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